 1   Kyle A. Kinney, Esq. [Bar No. 027189]
     LAW OFFICES OF KYLE A. KINNEY, PLLC
 2   1717 N. 77th Street, Suite 6
     Scottsdale, AZ 85257
 3   Phone: [480] 269-7077
     Fax: [480] 614-9414
 4   Email: kyle@kinneylaw.net
 5
     Attorney for Debtors,
 6   RONALD AND ARLENE SILVER
 7                       IN THE UNITED STATES BANKRUPTCY COURT
 8                               FOR THE DISTRICT OF ARIZONA
 9
     In Re:                                                Chapter 11
10
     Arlene Silver and                                     Case No. 2:17-bk-07624-SHG
11   Ronald J. Silver, husband and wife,
                                                           NOTICE OF EXPEDITED
12                                 Debtors.                HEARING ON DISCLOSURE
                                                           STATEMENT
13
                                                           DATE:         July 19, 2018
14                                                         TIME:         2:00 PM

15            To creditors, and other parties in interest in this matter: A disclosure statement and a

16   first amended plan under chapter 11 of the Bankruptcy Code having been filed by Debtors

17   Arlene and Ronald Silver on June 9, 2018,

18            NOTICE IS HEREBY GIVEN, that:

19            1.     The hearing to consider approval of the disclosure statement shall be held at:

20   United States Bankruptcy Court for the District of Arizona, located at 230 N. 1st Avenue,

21   Courtroom 301, Phoenix, Arizona, on July 19, 2018, at 2:00 o'clock p.m.

22            2.     July 12, 2018 is fixed as the last day for filing and serving in accordance with

23   Fed. R. Bankr. P. 3017(a) written objections to the disclosure statement.

24            3.     Requests for copies of the disclosure statement and plan shall be mailed to

25   counsel for the Debtors, at 1717 N. 77th Street, Suite 6, Scottsdale, Arizona, 85257, or by

26   telephone call to 480-694-5697 and leaving a message of where the Plan and Disclosure

27   Statement shall be mailed.

28
 1          DATED this 28th day of June, 2018
 2                                               LAW OFFICES OF KYLE A. KINNEY, PLLC
 3
 4                                               By:/s/ Kyle A. Kinney
                                                        Kyle A. Kinney, Esq.
 5                                                      1717 N. 77th Street, Suite 6
                                                        Scottsdale, AZ 85257
 6                                                      Attorney for Debtors
 7
 8   COPY of the foregoing mailed or served
     via electronic notification this 28th day
 9   of June 2018 to:
10   RENEE SANDLER SHAMBLIN
11   OFFICE OF THE U.S. TRUSTEE                           Lori L. Winkelman
     230 North First Avenue, Suite 204                    Amelia B. Valenzuela
12   Phoenix, AZ 85003-1706                               Quarles & Brady LLP
     Email: renee.s.shamblin@usdoj.gov                    Renaissance One
13                                                        Two North Central Avenue
     Kim Lepore                                           Phoenix, Arizona 85004-2391
14                                                        lori.winkelman@quarles.com
     klepore@wrightlegal.net
     Jamin S. Neil                                        amelia.valenzuela@quarles.com
15                                                        Attorneys for Capital One, NA as servicer
     jneil@wrightlegal.net
16   WRIGHT, FINLAY & ZAK, LLP                            forGreenpoint Mortgage Funding, Inc.
     16427 N. Scottsdale Road, Suite 300
17   Scottsdale, Arizona 85254                            Joseph J. Tirello, Jr., Esq.
     Attorneys for Nissan                                 ZIEVE, BRODNAX & STEELE, LLP
18                                                        3550 North Central Avenue, Suite 625
     ALDRIDGE PITE, LLP
     ecfazb@aldridgepite.com                              Phoenix, AZ 85012
19                                                        E-mail: Jtirello@zbslaw.com
     4375 Jutland Drive, Suite 200
20   P.O. Box 17933                                       Attorneys for U.S. Bank National Association,
     San Diego, CA 92177-0933                             as Trustee for Lehman Brothers Small Balance
21   Attorneys for Ocwen Loan Servicing                   Commercial Mortgage Pass-Through
                                                          Certificates,
22   Nationstar Mortgage LLC                              Series 2007-3
     Robertson, Anschutz & Schneid, P.L.
23   6409 Congress Avenue Suite 100
     Boca Raton, FL 33487-2853||
24
25   See attached Mailing Matrix

26
27   By:/s/ Paula D. Hillock
28

                                                    -2-
                                                               THIS ORDER IS APPROVED.


                                                               Dated: June 27, 2018



 1                                                             _________________________________
                                                               Scott H. Gan, Bankruptcy Judge
 2
 3
 4
 5
 6
 7                      IN THE UNITED STATES BANKRUPTCY COURT
 8                              FOR THE DISTRICT OF ARIZONA
 9   In Re:                                             Chapter 11
10   Arlene Silver and                                  Case No. 2:17-bk-07624-SHG
     Ronald J. Silver, husband and wife,
11
                                  Debtors.
12
13        ORDER SHORTERNING NOTICE OF HEARING ON APPROVAL OF
        DISCLOSURE STATEMENT FOR DEBTOR’S FIRST AMENDED PLAN OF
14               REORGANIZATION AND NOTICE OF HEARING
15            This matter having come before the court on Debtors in Possession, Arlene Silver and
16   Ronald J. Silver’s Ex Parte Motion for Order Shortening Time to Notice hearing on approval
17   of the Debtors’ Disclosure Statement for First Amended Plan of Reorganization Dated June
18   8, 2018, and good cause appearing therefore,
19            IT IS HEREBY ORDERED that the notice of the deadline to object to the adequacy
20   of the Disclosure Statement is hereby shortened to fourteen (14) days.
21            IT IS FURTHER ORDERED that July 12, 2018 is the deadline to object to the
22   adequacy of the Disclosure Statement and July 19, 2018 at 2:00 p.m. is the date and time set
23   for hearing on approval of the Disclosure Statement. Debtors shall serve said Notice of
24   Hearing and a copy of this Order no later than June 28, 2018.
25
26
                                    DATED AND SIGNED AS SET
27                                       FORTH ABOVE

28
Label Matrix for local noticing                ARIZONA DEPARTMENT OF REVENUE         AZ DEPARTMENT OF REVENUE
0970-2                                         ATTENTION BK PAYMENT UNIT             BANKRUPTCY & LITIGATION
Case 2:17-bk-07624-SHG                         c/o 1275 W WASHINGTON ST.             1600 W. MONROE, 7TH FL.
District of Arizona                            PHOENIX, AZ 85007-2926                PHOENIX, AZ 85007-2650
Phoenix
Wed Jun 27 16:25:43 MST 2018
Nationstar Mortgage LLC                        Nissan-Infiniti LT                    PRA Receivables Management, LLC
Robertson, Anschutz & Schneid, P.L.            Wright, Finlay & Zak, LLP             PO Box 41021
6409 Congress Avenue                           c/o Jamin S Neil                      Norfolk, VA 23541-1021
Suite 100                                      16427 N. Scottsdale Road, Suite 300
Boca Raton, FL 33487-2853                      Scottsdale, AZ 85254-1597

U.S. Bank National Association, as Trustee f   U.S. Bankruptcy Court, Arizona        AMERICAN EXPRESS BANK, FSB
Zieve, Brodnax & Steele, LLP                   230 North First Avenue, Suite 101     C/O BECKET AND LEE LLP
3550 N. Central Ave., Ste. 625                 Phoenix, AZ 85003-0608                PO BOX 3001
PHOENIX, AZ 85012-0004                                                               MALVERN PA 19355-0701


ARIZONA DEPARTMENT OF REVENUE                  ARIZONA DEPARTMENT OF REVENUE         American Express
2005 N. CENTRAL AVE., SUITE 100                ATTENTION BK PAYMENT UNIT             Box 0001
PHOENIX, AZ 85004-1546                         c/o 2005 N CENTRAL AVE, SUITE 100     Los Angeles, CA 90096-8000
                                               PHOENIX, AZ 85004-1546


BVA Compass Bank                               Bank of America                       COMPASS BANK
PO Box 2210                                    PO Box 851001                         401 WEST VALLEY AVE
Dectur, AL 35699-0001                          Dallas, TX 75285-1001                 HOMEWOOD, AL 35209-4800



(p)CAPITAL ONE                                 Capital One, NA as servicer for       (p)CITIBANK
PO BOX 30285                                   Greenpoint Mortgage Funding, Inc.     PO BOX 790034
SALT LAKE CITY UT 84130-0285                   c/o Molly J. Kjartanson               ST LOUIS MO 63179-0034
                                               Quarles & Brady LLP
                                               2 N. Central Avenue
                                               Phoenix, AZ 85004-2391
Citibank / The Home Depot                      Comenity Capital Bank/Paypal Credit   Deutsche Bank National Trust Company
PO Box 790328                                  c/o Weinstein & Riley, PS             Ocwen Loan Servicing, LLC
St. Louis, MO 63179-0328                       2001 Western Ave., Ste 400            Attn: Bankruptcy Department
                                               Seattle, WA 98121-3132                PO Box 24605
                                                                                     West Palm Beach, FL 33416-4605

Discover Bank                                  Law Office of Kyle A. Kinney, PLLC    National Bank of Arizona
Discover Products Inc                          1717 N 77th St Ste 6                  Legal Services, UT ZB11 0877
PO Box 3025                                    Scottsdale, AZ 85257-2253             P.O. Box 30709
New Albany, OH 43054-3025                                                            Salt Lake City, UT 84130-0709


National Bank of Arizona                       Nationstar Mortgage                   Nissan
c/o Outsource Receivables Management           PO Box 619063                         POB 660366
12349 Washington Blvd.                         Dallas, TX 75261-9063                 Dallas, TX 75266-0366
Ogden, UT 84404


Nissan Motors Acceptance Corporation           Ocwen Loan Servicing                  Ocwen Loan Servicing, LLC
PO Box 742657                                  1661 Worthington Rd Ste 100           c/o ALDRIDGE PITE, LLP
Cincinnati, OH 45274-2657                      West Palm Bch, FL 33409-6493          4375 Jutland Drive, Suite 200
                                                                                     P.O. Box 17933
                                                                                     San Diego, CA 92177-7921
PayPal Credit                                        Rein & Grossoehme Commerical Real Estate LLC         Sam’s Club
Comenity Capital Bank                                James K Edwards Jr                                   PO Box 530981
PO Box 105658                                        8767 E. Via De Ventura, Suite 290                    Atlanta, GA 30353-0981
Atlanta, GA 30348-5658                               Scottsdale AZ 85258-3384


Sam’s Club                                           Sears / TGI Mastercard                               Synchrony Bank
PO Box 960013                                        PO Box 78051                                         c/o PRA Receivables Management, LLC
Orlando, FL 32896-0013                               Phoenix, AZ 85062-8051                               PO Box 41021
                                                                                                          Norfolk VA 23541-1021


Synchrony Bank / Gap Visa                            The Home Depot                                       U.S. Bank National Association
PO Box 965004                                        Fortiva                                              Nationstar Mortgage LLC
Orlando, FL 32896-5004                               Po Box 790393                                        ATTN: Bankruptcy Dept
                                                     Saint Louis, MO 63179-0393                           PO BOX 619094
                                                                                                          Dallas, TX 75261-9094

U.S. Bank National Association,                      U.S. TRUSTEE                                         Wells Fargo Bank, N.A.
Ocwen Loan Servicing, LLC                            OFFICE OF THE U.S. TRUSTEE                           Ocwen Loan Servicing, LLC
Attn: Bankruptcy Department                          230 NORTH FIRST AVENUE                               Attn: Bankruptcy Department
PO Box 24605                                         SUITE 204                                            PO Box 24605
West Palm Beach, FL 33416-4605                       PHOENIX, AZ 85003-1725                               West Palm Beach, FL 33416-4605

Wells Fargo Bank, N.A.                               Wells Fargo Cash on Demand Account                   Arlene Silver
Wells Fargo Card Services                            PO Box 660553                                        8329 E. Charter Oak Road
PO Box 10438, MAC F8235-02F                          Dallas, TX 75266-0553                                Scottsdale, AZ 85260-5230
Des Moines, IA 50306-0438


KYLE A. KINNEY                                       Ronald J Silver
LAW OFFICES OF KYLE A. KINNEY, PLLC                  42 Augusta Drive
1717 N 77TH ST., SUITE 6                             Deerfield, IL 60015-5067
SCOTTSDALE, AZ 85257-2253




                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Capital One Bank                                     Citi Card                                            (d)The Home Depot
15000 Capital One Dr                                 PO Box 78045                                         PO Box 78011
Richmond, VA 23238-1119                              Phoenix, AZ 85062-8045                               Phoenix, AZ 85062-8011




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)Capital One, NA as servicer for Greenpoint        (u)Ocwen Loan Servicing, LLC                         (d)Nissan Motors Acceptance Corporation
                                                                                                          Po Box 742657
                                                                                                          Cincinnati, OH 45274-2657
